Bitcoin - Open source P2P money
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          Bitcoin is an innovative payment network and a new kind of money.




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               Instant peer-to-peer
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               transactions
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               Worldwide
               payments
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               Zero or low
               processing fees


   Bitcoin uses peer-to-peer technology to operate with no central authority or banks; managing transactions


https://bitcoin.org/en/[7/14/2014 11:35:41 AM]
Bitcoin - Open source P2P money
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   and the issuing of bitcoins is carried out collectively by the network. Bitcoin is open-source; its
   design is public, nobody owns or controls Bitcoin and everyone can take part. Through
   many of its unique properties, Bitcoin allows exciting uses that could not be covered by any previous
   payment system.




                                                   Get started with Bitcoin


                                                 Or get a quick overview for

                                  Individuals           Businesses            Developers


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